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                                 UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF MICHIGAN

IN THE MATTER OF:
                                                                         CASE NO: 16-05439-jtg
       RODNEY LYNN WHITTINGTON-SADDLER
       PENELOPE MELEBECK,                                                Chapter 13
             Debtors.
________________________________/                                        Judge: John T. Gregg

    MOTION TO APPROVE SALE OF REAL PROPERTY PURSUANT TO 11 U.S.C. §363(b)

           NOW COMES Christopher Pfeifer, by and through his attorney, Gene F. Turnwald of Gene F.

Turnwald, P.C., and for his Motion to Approve Sale of Real Property Pursuant to 11 U.S.C. §363(b) states as

follows:

    1. The Debtors filed a Chapter 13 Bankruptcy Petition on October 26, 2016.

    2. In the Chapter 13 Plan that was confirmed on April 26, 2017, the listed intent was for a surrender of

           the real property located at 4585 Sycamore Street, Holt, Michigan.

    3. At a foreclosure sale initiated by the lien creditor, Federal National Mortgage Association, on May 3,

           2018 the home was sold back to the lien creditor for an amount of $67,200.00.

    4. On or about May 2, 2018, Debtor Penelope Melebeck quit claimed her interest in the property to

           Christopher Pfeifer for $1,000.00.

    5. As the Debtors are in a Chapter 13 Plan, approval is necessary to effectuate the transfer of real property

           from the estate to Christopher Pfeifer.

    6. Pursuant to 11 U.S.C. §363(b)(1) as the debtor was not in the business of buying and selling real estate,

           the debtor or debtor’s trustee can sell property after notice and a hearing.

    7. It is in the best interest of the Court to approve the sale of the real estate as the lien creditor will receive

           payment for the value of the sheriff’s deed.

    8. Additionally, in the event that Christopher Pfeifer redeems the property, as is his intention, the junior

           lien creditor will also receive payment.

    9. If the sale is not authorized by this Court, the junior lien will be extinguished by virtue of the mortgage

           foreclosure sale and will receive no benefit.
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        WHEREFORE Christopher Pfeifer respectfully requests that this Honorable Court GRANT his

Motion to Approve Sale of Real Property Pursuant to 11 U.S.C. §363(b)

                                                           Respectfully Submitted,




Dated: July 19, 2018                                       _/s/ Gene F. Turnwald____
                                                           Gene F. Turnwald, P46466
                                                           Attorney for Christopher Pfeifer
                                                           2160 Hamilton Rd., Ste. 100
                                                           Okemos, MI 48864
                                                           517.347.6700
                                                           gturnwald@comcast.net

                                             VERIFICATION

I hereby affirm that the above statements are true to the best of my knowledge, information, and belief.

Dated: July 23, 2018                                       _/s/ Christopher Pfeifer____
                                                           Christopher Pfeifer
